






NO. 07-04-0354-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 2, 2004



______________________________




IN RE PAUL EDWARD CUMMINS, JR., RELATOR






_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	Proceeding pro se and informa pauperis, relator Paul Edward Cummins, Jr., an
inmate, filed a petition for a writ of mandamus requesting this Court to compel respondent
Larry Leflore, Vice Chairman of the Classification and Records Department of the Texas
Department of Criminal Justice, to restore street-time credit for time spent out of custody
while on mandatory supervision. (1)  We dismiss the petition for want of jurisdiction.

	A court of appeals has the authority to issue writs of mandamus against a judge of
a district or county court in the court of appeals' district and all writs necessary to enforce
its jurisdiction.  Tex. Gov't Code Ann. § 22.221(b) (Vernon Supp. 2004).  An official with the
Texas Department of Criminal Justice is not within our jurisdictional reach and thus, we
have no authority to issue a writ of mandamus against respondent.  Further, relator has
failed to demonstrate that issuance of a writ is necessary to enforce our jurisdiction in a
particular case.  Consequently, we have no authority to grant relator the relief he requests.

	Accordingly, the petition for writ of mandamus is dismissed for want of jurisdiction.


						Don H. Reavis

						    Justice

								

1. Relator's petition was filed on July 9, 2004, unaccompanied by the required filing
fee or an affidavit of indigence.  In response to this Court's letter requesting the fee, relator
timely filed a declaration of inability to pay on July 20, 2004.  See Tex. R. App. P. 20.1(3). 
Pursuant to Verburgt v. Dorner, 959 S.W.2d 615, 616 (Tex. 1997), we imply the Rule
10.5(b) motion for extension of time.  Relator also filed a motion for extension of time in
which to file a petition for writ of mandamus on July 20.  His petition having been previously
filed on July 9, we moot the motion and rule on the petition in this opinion.


ootness, must be,
and is hereby, dismissed. 


							John T. Boyd

							Senior Justice


Do not publish.
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.  Tex. Gov't Code Ann. §75.002(a)(1) (Vernon Supp. 2003). 


